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Honorable Robert W. Pratt
Chief District ]udge
Southern District of Iovva
United States Courthouse
123 East Walnut Street
Room 221

Des Moines, IA 50309

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June 8, 2010

Re: Jenny Pitts v. Plumbers and Steamfitters Local 33
Case No. lO-cv-OO76-RP-RAW

Dear Judge Pratt:

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The Defendant, Plumbers and Steamfltters Local Union No. 33 (“the Union”), submits the
following letter of supplemental authority, pursuant to the Court’s Order stated at the hearing held
on May 28, 2010. As requested by the Court, the Union is also submitting a copy of: (a) the
collective bargaining agreement between it and employers recognizing the Union as the exclusive
bargaining agent; and (b) the written “Hiring Hall Rules” governing the Union’s operation of its
exclusive hiring hall. [Note: The previous CBA has expired, and thus, the Union is also
submitting a copy of the current CBA.]

Exclusive Hiring Hall and LMRA 8 301 iurisdiction

The Union operates an “exclusive” hiring hall, under Which the employer has agreed to
hire all of its craft Workers through a referral system maintained by the Union. This agreement is

clearly stated in Section 4 of the CBA, Which provides in relevant part:

SECTION 4. Upon request the Union agrees to furnish plumbers, steamfitters, and
pipefltters to the undersigned contractor, public utility corporations, or governing
bodies that may have journeymen of either craft steadily employed, or for repair

Work only.

 

 

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Contractors shall seek to hire qualified plumbers, steamfitters and pipefitters by
calling the Union. Whenever a Contractor requires a plumber, stearnfltter or
pipefitter on any job, it shall notify the Local Union Offlce, either in writing or by
telephone, stating the type of work to be performed and the number of employees
required.

All bargaining unit employees shall be referred to the Contractor by the Union.

(CBA, Section 4, p.4). ln accordance with and pursuant to this exclusive referral agreement, the
Union has also agreed to written procedures (see enclosed “Hiring Hall Rules”), as well as
unwritten practices, which govern the specific referral rights of employees and the employers
requesting referrals. These practices and procedures are also part of the CBA, and as such, must
be considered in determining an employee’s referral ri ghts. See Transportation-Communication
Employees Union v. Union Pacifz`c R.R. C0., 385 U.S. 157, 161 (1966)(interpretation of a
collective bargaining agreement requires the court “to consider the scope of other related
collective bargaining agreements, as well as the practice, usage and custom pertaining to all such
agreements”).

Because exclusive hiring hall arrangements can only arise under an agreement between an
employer and the union as the bargaining representative, the courts have asserted jurisdiction
under LMRA § 301 to adjudicate alleged violations of the hiring hall agreement. See Laborers’
Int ’l Union, Local 107 v. Kunco, lnc., 472 F.2d 456 (Sth Cir. 1973)(§ 301 suit by union against
employer for refusing to hire through union hiring hall as agreed to in CBA); Internatz`onal
Brotherhood of Elec. Workers, Local 545 v. Hope Elec. Corp., 293 F.3d 409, 418 n.9 (8th Cir.
2002)( in § 301 action, affirming contempt order against employer who failed to abide by order
require it to hire pursuant to the exclusive hiring hall provisions of CBA).

Section 301 jurisdiction also extends to suits brought by individual employees asserting
rights under a CBA, even though the employee is not a party to the CBA, sz`th v. Evening News
Ass ’n, 371 U.S. 195 (1961). The Supreme Court’s holding in Smith was based in part upon
recognition that a uniform body of federal law must govern the application and interpretation of
collective bargaining agreements, and that this uniformity would be imperiled if it depended upon
the identify of the parties to the lawsuit. As the Court held: “To exclude these claims [by
individual employees] from the ambit of § 301 would stultify the congressional policy of having
the administration of collective bargaining agreements accomplished under a uniform body of
federal law.” 371 U.S. at 200. Thus, it can make no difference that the hiring hall violations are
alleged here by an employee, rather than by a union or an employer. The preemptive force of §
301 requires that a “uniform body of federal law” governs any action based upon these rights and
duties that do not exist independent of the CBA.

Finally, the Union urges the Court to take note of the recent decision by the Eighth Circuit
Court of Appeals in Holschen v. Internatl`onal Union of Painters & Alliea' Traa'es/Pal`nters
Dz`strz'ct Council #2, 598 F.3d 454 (Sth Cir. 2010). ln Holschen, the plaintiff alleged that his union
had “blackballed” him by not referring his name to prospective employers through the union’s

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non-exclusive hiring hall. The court held that § 301 preempted plaintiffs state-law claims of
interference with a valid business expectancy:

lf the CBAs gave Holschen something more than a mere hope of a business relationship
with prospective employers, the Union’s duty to refrain from interfering with his valid
business expectancy would arise from the CBAs. Conversely, if the CBAs did not give rise

, to a valid business expectancy between Holschen and prospective employers, the Union
would have no corresponding duty to refrain from interfering with such an expectancy.
Either way, the resolution of Holschen’s state law claim would depend upon the meaning
of the CBAs, because the CBAs would have to be examined to determine both (1) the
extent of the Union’s duties to its members and (2) the scope of a union member's
contractual or business relationship with prospective employers.

Holschen, 598 F.3d at 461.

The holding of Holschen, which was reached under a non-exclusive hiring hall
arrangement, applies with even greater force when, as here, the Union operates an exclusive hiring
hall. lt is only by virtue of the provisions of the CBA, and the written and unwritten rules and
practices that are part and parcel of the CBA, that Plaintiff can establish any right or expectation
to the referrals in question. Unless Plaintiff can first establish such a contractual right, then it is a
non sequitor for Plaintiff to claim that the Union “discriminated” against her with respect to its
administration of that non-existent “right.”

Federal Preemption of State-Law Discrimination Claims

At oral argument held on May 28, 2010, the Court posed a question regarding the apparent
permissibility of state discrimination laws in other contexts. The language of the Civil Rights Act
of 1964 certainly makes clear that this statute, standing alone, has no preemptive effective upon
state laws not in conflict with that federal anti-discrimination law. The savings provisions of the
Civil Rights Act are contained in § 708 of Title VII, 42 U.S.C. § 2000e-7, and in § 1104 of Title
XI, 42 U.S.C. § 2000h-4, which provide that “[n]othing in this title,” § 708, and “[n]othing
contained in any title of this Act,” § 1104, preempts state anti-discrimination laws. Long before
the enactment of the Civil Rights Act, however, Congress had completely foreclosed state
remedies available against unions in the performance of their representational function of
employees, who had been “stripped of traditional forms of redress by the provisions of federal
labor law.” Vaca v. Sipes, 386 U.S. 171, 182 (1967). Moreover, Congress amended the national
labor laws in 1947 to provide in LMRA § 301 for a uniform body of federal law to govern the
interpretation of labor contracts. Although the Civil Rights Act makes clear that it does not
preempt state remedies against discrimination, the language of its savings provisions does not
thereby permit the conclusion that Congress returned to the States what it had already take from
them through § 9(a) of the National Labor Relations Act of 1935, and LMRA § 301. Thus,
although there is no preemption of state anti-discrimination laws under Title VII, preemption of
such state statutes still exists under lpreexisting labor law preemption See, e.g., Davz's v. Johnson
Controls, Inc., 21 F.3d 866, 868 (8t Cir. 1994)(handicap discrimination lawsuit under Missouri

 

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Human Rights Act was preempted by § 301). To hold otherwise would require the Court to find
that the Civil Rights Act effected an “implied repeal” of the earlier labor laws, which are not
favored by the law. See, e.g., Cantor v. Detroit Ea'ison, 428 U.S. 579, 597 n.37 (1976).

Inapplicabilitlof “Garmon” geemption analysis

At oral argument held on May 28, 2010, counsel for Plaintiff suggested to the Court that
state discrimination laws are not preempted, since they are matters of particular “state interest.”
This argument relies upon a balancing of federal and state interests, which the Supreme Court has
employed only in the context of “Garmon” preemption See Linn v. P[ant Guara' Workers, 383
U.S. 53, 61-62 (1966). Under Garmon preemption, activity that is either “arguably prohibited” or
“arguably protected” by the National Labor Relations Act is a matter that normally falls within the
exclusive jurisdiction of the National Labor Relations Board. lt is analytically distinct from other
forms of labor law preemption, such as § 301 and DFR preemption See Lingle v. Norge Division
of Magic Chef, 486 U.S. 399, 409 n.8 (1988). Moreover, the Supreme Court has expressly held
that in deciding questions of preemption under LMRA § 301, “the balancing of state and federal
interests required by Garmon pre-emption is irrelevant, since Congress, acting within its power
under the Commerce Clause, has provided that federal law must prevail.” Allis-Chalmers Corp. v.

Lueck, 471 U.S. 202, 213 n.9 (1985)(§ 301 preempted state tort of bad faith handling of insurance
claim).

ln this case, the Union has not argued that Plaintiff’ s suit is subject to Garmon preemption
Thus, the balancing of state and federal interests required by that preemption doctrine is

inapplicable here,
Yours truly,
MM/» )f . LMM

Charles R. Schwartz

CRS/nmd
Enclosures

cc: Paige Fielder, Esq., w/encs.
Billy Mallory, Esq., w/o encs.

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Plumbers and Steamfitters Local Union No. 33
Hiring Hall Rules

The Collective Bargaining Agreement between Plumbers and Steamfitters Local
Union No. 33 and its Employers provides that-Employers obtain referrals for
journeymen and apprentice plumbers, pipe fitters and steamfitters from Local 33. To
provide for an orderly procedure of referrals of plumbers, pipe fitters and

steamfitters for employment, to preserve legitimate interest of Employees in their
employment status within the are_a and to eliminate discrimination in employment
because of membership or non-membership in the Union, Plumbers and Steamfitters

Local Union No. 33 has implemented the following system of referral of journeymen

and apprentices for employment

l. GENERAL

A. Local 33 shall register and refer journeymen ann .-.= » » tice plumbers, pipe

fitters and steamt`itter without discrimro

   

membership or

non-membership in the union, race,

  

B, national origin, sexual
orientation, disability or religion. The - istration and referral shall be in

accordance with the procedure below.

B. A copy of these rules shall be available for inspection during business hours

by any bargaining unit member.

C. Upon request, any individual will be shown his relative position on the out-of-

work list.

lI. REGISTRATION

A. The Union shall maintain a register of journeymen and apprentices available

    

for employment established on the following basis: EXH|B|T

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A. As a general principle, plumbers, pipe fitters and steamfitters shall be
referred on a “first-in, first-out” basis. 'l`hey will be registered on the out-of-

work listed in chronological order.

B. Subject to the exceptions stated herein, the Local shall refer plumbers, pipe

fitters and steamfitters in the order of their place on the out-of-work list.

C. 'l`he Local shall refer the first applicant on the out-of-work list possessing the
bona fide skills and abilities required by the Employer in its request for

workers.

D. 'l`he following specific rules will affect the priority of referrals:

1. A referral will be made based on the Employer’s request for a plumber,
pipe fitter or steamfitter. In other words, if a request is made for a
journeymen plumber, then the first journeymen plumber registered on
the list in chronological order would be the individual referred out. `ln
those situations where there are no individuals on the list fitting the
specific craft classification requested by the Employer, then, after
discussion with the Employer, referral can be made of an individual
with a different craft classification, However, a pipe fitter will not be
referred to fill a request for a plumber as long as any plumber is
available on the out-of-work list; by the same token, no plumber will
be referred to fulfill a request for pipe fitters as long as a qualified pipe

fitter is available on the out-of-work list;

2. A request for a specific individual on the out-of-work list by a

particular Employer will be honored provided that the requested

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immediately preceding the request;

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The Local will honor a specific request for an individual who has b
served as a foreman or a general foreman for a contractor within the

two-year period immediately preceding the request for referral;

The following skills will be considered a basis for prioritizafion:

a. Certified welder l

b. Welder

c. Licenses - city/state

d. Control systems proficiency
e. Refrigeration proficiency

f.' HVAC proficiency

g. CFC license

h. Med Gas license

Backflow license

j. Tube Bender

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ln other words, if a_ request is placed by an Employer for a certified
welder, then,the first certified welder on the list in chronological order
would be referred out even before journeymen in the same craft

classification who do not have that certification.

Prioritization of referrals will also be based on a regisb'ant’s residency in
the geographical area constituting the normal labor market for the
referral. To be a resident in one of the above normal constriction labor
markets means a registrant has maintained his permanent home in that
area for a period of not less than one year. The normal labor markets

for the various regions covered by the Collective Bargaining Agreement

are as follows:

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a. Des Moines normal construction labor market shall consist of

Dallas, Polk, Jasper, Madison and Warren counties.

b. Sioux Cify normal construction labor market shall consist of the
following counties in Iowa: Lyon, Osceola, Dickinson, Sioux,
O’Brien, Clay, Plymouth, Cherokee, Buena Vista, Woodbury, lda

and Sac. The area also includes Dakofa and Dixon Counties in

Nebraska, and Union Counfy in South Dakota.

c. Mason Cify normal construction labor market shall consist of the
following counties in lowa: Cerro Gordo, Floyd, Franklin, Hancock,

Mitchell, Winneb`ago, Worth, Wright.

d. Fort Dodge normal construction labor market shall consist of the

following counties in lowa: Hamilton, Webster, Calhoun,

Pocahontas, Humboldt, Palo Alto, Emmet, Kossuth.

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mama nod.amod mddma amandmddn< ddo amdma admdd .a.ddmmamv~ ca
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3 98 9508588 989 8055958 80558955858 50
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5088<85855 8058888 95 98 998 88 5859888 05 98
988@899@ 955_. 858 590 888 8055959© 8 5088885_
539 05 98 558 80<8888 95 98 Q098855<8 988@899Q
5588885855 508 85 58885 989 05 988 90888 589 98
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0009 9000 200900 94 0009_ 009090400 0040_000 94 990
>Q00009099 090 09099 U.04 8 90 909999000 090 m90000_999000
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0009 9000 200900 94 0009 05090400 0040000 94 990
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90 0:099 0009 0909900 2000 000.900. 9890040 0040000
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